Dear Auditor Schweich:
This office received your letter of October 21, 2011, submitting a fiscal note and fiscal note summary prepared under § 116.175, RSMo, for an initiative petition submitted by Dan Viets (version 3). The fiscal note summary that you submitted is as follows:
  Annual state government operating costs would increase by at least $1 million with the total increase being unknown. Those costs would be offset by an unknown increase in fee and tax revenues. The fiscal impact to local governmental entities is unknown with some increase in revenue possible.
Under § 116.175.4, RSMo, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the initiative petition or as the expression of any view regarding the objectives of its proponents.
  Very truly yours,
  ___________________ CHRIS KOSTER Attorney General *Page 1 